
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-361-CV

CHARLES E. MCKINSTRY	APPELLANT



V.



CHARLES VESS	APPELLEE



----------

FROM COUNTY COURT 
AT LAW NO. 1 OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

On January 22, 2009, we notified appellant that his brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;
Tex. R. App. P.
 38.6(a). &nbsp;We stated we could dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;
See
 Tex. R. App. P. 42.3. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 
Tex. R. App. P.
 38.8(a), 42.3(b), 43.2(f).



PER CURIAM 		





PANEL: &nbsp;MCCOY, J.; CAYCE, C.J.; and MEIER, J.



DELIVERED: &nbsp;February 19, 2009

FOOTNOTES
1:See 
Tex. R. App. P.
 47.4.




